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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

Case No.     2:20-cv-03860-SHK                                          Date: November 9, 2021

Title: Isis Nix v. Kilolo Kijakazi



Present: The Honorable Shashi Kewalramani, United States Magistrate Judge


               D. Castellanos                                            Not Reported
               Deputy Clerk                                              Court Reporter


    Attorney(s) Present for Plaintiff(s):                    Attorney(s) Present for Defendant(s):
               None Present                                              None Present


Proceedings (IN CHAMBERS):            ORDER TO SHOW CAUSE


        On March 30, 2021, the Court entered Judgment dismissing this case. Electronic Case
Filing Number (“ECF No.”) 24, Order Dismissing Case; ECF No. 25, Judgment. On May 3, 2021,
Plaintiff Isis Nix (“Plaintiff”), through Plaintiff’s counsel Betty Herrera (“Counsel”) moved the
Court under Federal Rule of Civil Procedure (“Rule”) 60(b) “for relief from judgment” (“First
Motion” of “First Mot.”). ECF No. 27, First Mot. (capitalization normalized). On June 1, 2021,
the Court denied Plaintiff’s First Motion (“Order Denying First Motion” or “Order Denying First
Mot.”). ECF No. 28, First Mot.

       On June 29, 2021, Plaintiff filed the instant “Rule 59(e) Motion to Alter or Amend the
Judgment” (“Instant Motion” or “Instant Mot.”). ECF No. 31, Instant Mot. (capitalization
normalized). In Plaintiff’s Instant Motion, although it is not clear, Plaintiff appears to seek two
forms of relief. Specifically, Plaintiff argues both that “the Court order dismissing the matter
[should] be vacated[,]” and that the Court “under Rule 59(e) . . . alter or amend its judgment
entered on June 1, 2021.” Id. at 1-2. Plaintiff’s Instant Motion appears to fail for the following
reasons.

       First, to the extent Plaintiff seeks relief under Rule 59(e) from the Court’s Judgment
dismissing the case, Plaintiff’s request appears to be untimely. This is because the Court entered
Judgment dismissing the case on March 30, 2021, ECF No. 24, 25; Rule 59(e) states that “[a]
motion to alter or amend a judgment must be filed no later than 28 days after the entry of the
judgment,” Fed. R. Civ. P. 59(e) (emphasis added); and Plaintiff filed the Instant Request ninety-
one days later on June 29, 2021. See ECF No. 31, Instant Mot.

       Next, to the extent Plaintiff seeks relief under Rule 59(e) in the form of the Court “alter[ing]
or amend[ing] its judgment entered on June 1, 2021,” the Court did not enter Judgment on June 1,
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2021. Rather, the Court denied Plaintiff’s First Motion brought under Rule 60(b) in this closed
case on that date. Thus, Plaintiff’s Instant Motion appears to mistake the Court’s Order Denying
First Motion for the Judgment in this case. Plaintiff, however, provides no legal authority that
would allow the Court to apply Rule 59(e), which allows a Court only to “alter or amend a
judgment . . . no later than 28 days after the entry of the judgment[,]” to alter or amend an order
denying a previously brought Rule 60(b) motion. Consequently, to the extent Plaintiff seeks relief
under Rule 59(e) in the form of the Court altering or amending its Order Denying First Motion,
Plaintiff’s Instant Motion also appears to fail.

        Finally, to the extent Plaintiff might be seeking relief under Rule 60(b) from the Court’s
Order denying Plaintiff’s First Motion that was also brought under Rule 60(b), Plaintiff’s Instant
Motion fails because: (A) Plaintiff has not even clearly established that Plaintiff seeks such relief in
Plaintiff’s “Rule 59(e) Motion to Alter or Amend the Judgment[,]” ECF No. 31, Instant Mot.
(capitalization normalized); and (B) Plaintiff has provided no discussion or legal authority
establishing that Rule 60(b) can be used to provide relief from an order denying a previous Rule
60(b) motion and the Court can find none.

        Consequently, Plaintiff is ordered to show cause by November 19, 2021 why Plaintiff’s
Instant Motion should not be denied for the reasons discussed above.

        The Court also notes that the Commissioner of Social Security (“Defendant”) failed to
oppose Plaintiff’s First Motion and Plaintiff’s Instant Motion. Consequently, counsel for the
parties shall meet and confer by November 15, 2020 regarding whether excusable neglect has
contributed to this case being dismissed. If, after meeting and conferring, the parties jointly believe
that excusable neglect has contributed to the dismissal of this case, the parties may file a brief
stipulated motion and proposed order by November 22, 2021 for the Court’s consideration
indicating that the parties agree relief from judgment is warranted under Rule 60(b)(1) and/or Rule
60(b)(6).

       IT IS SO ORDERED.




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